                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

CASSI C. FISHER as Guardian ad Litem for                      No. 2:15-cv-01957-SU
X.S.F., a minor,

                Plaintiff,

         v.

WINDING WATERS CLINIC, PC, an Oregon                          ORDER
corporation; ELIZABETH POWERS, M.D.;
KEITH DeYOUNG, M.D.; and RENEE
GRANDI, M.D.,

                Defendants.

HERNANDEZ, District Judge,

         On February 13, 2017, Magistrate Judge Sullivan issued an Opinion & Order (#53) in

which she denied Defendants' Motion to Compel Genetic Testing and Amended Motion to

Compel Genetic Testing. On February 23, 2017, Defendants filed objections to the Order. On

August 10, 2017, the matter was referred to me pursuant to Federal Rule of Civil Procedure

72(a).

         In accordance with Rule 72(a), "[w]hen a pretrial matter not dispositive of a party's claim



1 - ORDER
or defense is referred to a magistrate judge to hear and decide, the magistrate judge must

promptly conduct the required proceedings and, when appropriate, issue a written order stating

the decision." Fed. R. Civ. P. 72(a). The standard of review for an order with objections is

"clearly erroneous" or "contrary to law." 28 U.S.C. § 636(b)(1)(A) (applying the "clearly

erroneous or contrary to law" standard of review for nondispositive motions). If a ruling on a

motion is not determinative of "a party's claim or defense," it is not dispositive and, therefore, is

not subject to de novo review as are proposed findings and recommendations for dispositive

motions under 28 U.S.C. § 636(b)(1)(B).

       I have carefully considered Defendants' objections and conclude they do not provide a

basis to modify Magistrate Judge Sullivan's Order.

                                          CONCLUSION

       The Court AFFIRMS Magistrate Judge Sullivan's Order [53].

       IT IS SO ORDERED.

                       DATED this                       day of                         , 2017.




                                                       MARCO A. HERNANDEZ
                                                       United States District Judge




2 - ORDER
